













Opinion issued August 6, 2009 








In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-08-00213-CV
____________

RAPID SETTLEMENTS, LTD., Appellant

V.

JOHN LASSITER, AMERICAN MAYFLOWER LIFE INSURANCE
COMPANY N/K/A GENWORTH LIFE INSURANCE COMPANY OF NEW
YORK AND MAYFLOWER ASSIGNMENT CORPORATION, Appellees

* * * * 

AMERICAN MAYFLOWER LIFE INSURANCE COMPANY N/K/A
GENWORTH LIFE INSURANCE COMPANY OF NEW YORK AND
MAYFLOWER ASSIGNMENT CORPORATION, Appellants

V. 

RAPID SETTLEMENTS, LTD., Appellees





On Appeal from the County Civil Court at Law No. 3
Harris County, Texas
Trial Court Cause No. 865903




MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The parties have filed a joint motion to dismiss the appeal.  No opinion has
issued.  Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R.
App. P. 42.1(a)(1).
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.
PER CURIAM
Panel consists of Chief Justice Radack and Justices Alcala and Sharp.


